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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF RHODE ISLAND

   Carline Vilbon
   Plaintiff,
   v.                                      Case No.: 1:21−cv−00267−MSM−LDA

   Kevin Aucoin, et al.
   Defendant.

                                    ORDER OF COURT

           Pursuant to Rule 5 of the Rules Governing Section 2254 Cases, the Attorney
   General is hereby ordered to file its response to the Petition under 28 U.S.C §2254 For
   Writ of Habeas Corpus By A Person In State Custody on or before September 20, 2021.
           It is so ordered.

   August 20, 2021                              By the Court:
                                                /s/ Mary S. McElroy
                                                United States District Judge
